                                                                      Case 2:19-cv-01191-JAM-CKD Document 148 Filed 12/28/21 Page 1 of 3

                                                               1    VERONICA A.F. NEBB
                                                                    City Attorney, State Bar No. 140001
                                                               2    RANDY J. RISNER
                                                                    Chief Assistant City Attorney, State Bar No. 172552
                                                               3    KATELYN M. KNIGHT
                                                                    Assistant City Attorney, State Bar No. 264573
                                                               4    CITY OF VALLEJO, City Hall
                                                                    555 Santa Clara Street
                                                               5    Vallejo, California 94590
                                                                    Telephone: (707) 648-4545
                                                               6    Facsimile: (707) 648-4687
                                                                    Email: katelyn.knight@cityofvallejo.net
                                                               7
                                                                    MICHAEL G. COLANTUONO, State Bar No. 143551
                                                               8    MColantuono@chwlaw.us
                                                                    JOHN A. ABACI, State Bar No. 166493
                                                               9    JAbaci@chwlaw.us
                                                                    ANDREW C. RAWCLIFFE, State Bar No. 259224
                                                               10   ARawcliffe@chwlaw.us
                                                                    COLANTUONO, HIGHSMITH & WHATLEY, PC
                                                                    420 Sierra College Drive, Suite 140
   Co l a n t u o n o , H i g h s m i t h & Wh at l e y, P C




                                                               11
                                                                    Grass Valley, California 95945-5091
                                                               12   Telephone: (530) 432-7357
                                                                    Facsimile: (530) 432-7356
                                                               13
                                                                  Attorneys for Defendants
                                                               14 CITY OF VALLEJO, ANDREW BIDOU, MARK
                                                                  THOMPSON, BRYAN GLICK, ANTHONY ROMERO-
                                                               15 CANO, COLIN EATON, JORDON PATZER, STEVEN
                                                                  DARDEN, AND KYLE WYLIE
                                                               16
                                                                                                 UNITED STATES DISTRICT COURT
                                                               17
                                                                                                EASTERN DISTRICT OF CALIFORNIA
                                                               18

                                                               19   KORI MCCOY, et al.,                               CASE NO.: 2:19-cv-01191-JAM-CKD
                                                               20
                                                                                  Plaintiffs,                         DEFENDANT CITY OF VALLEJO’S, ET AL.
                                                               21                                                     NOTICE OF MOTION AND MOTION TO
                                                                     v.
                                                                                                                      COMPEL DISCOVERY
                                                               22   CITY OF VALLEJO, et al.,                          (Local Rule 251)
                                                               23
                                                                                  Defendants.                         Complaint Filed:      June 27, 2019
                                                               24                                                     SAC Filed:            March 26, 2021
                                                                                                                      Trial Date:           January 30, 2023
                                                               25                                                     Discovery Cut-off:    June 3, 2022
                                                                                                                      Motion Cut-off:       July 15, 2022
                                                               26
                                                                                                                      Hearing Date:         January 19, 2022
                                                               27                                                     Time:                 10:00 a.m.
                                                                                                                      Courtroom:            24, 8th Flr
                                                               28



                                                                                                                  1                   Case No. 2:19-cv-01191-JAM-CKD
                                                                                       MOTION TO COMPEL DISCOVERY UNDER LOCAL RULE 251
272657.1
                                                                      Case 2:19-cv-01191-JAM-CKD Document 148 Filed 12/28/21 Page 2 of 3

                                                               1                             NOTICE AND MOTION TO COMPEL DISCOVERY
                                                               2           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                               3           PLEASE TAKE NOTICE that Defendants City of Vallejo, Andrew Bidou, Mark Thompson,
                                                               4    Bryan Glick, Anthony Romero-Cano, Colin Eaton, Jordon Patzer, Steven Darden, and Kyle Wylie
                                                               5    (“Defendants”) will, pursuant to Local Rule 251, move the Court for: (a) an order under Federal
                                                               6    Rules of Civil Procedure Rule 37 to compel Plaintiffs Kori McCoy, Marc McCoy, Louis McCoy,
                                                               7    Shawnmell Mitchell, Marquita McCoy, and Barbara Dorsey to: 1) respond to discovery propounded
                                                               8    by Defendants; and 2) produce documents; and (b) an order under Federal Rules of Civil Procedure
                                                               9    Rule 36 to determine the sufficiency of answers to admissions requests by Plaintiffs Louis McCoy,
                                                               10   Kori McCoy, Marc McCoy, Shawnmell Mitchell, and Marquita McCoy. The hearing on this matter

                                                                    will be on January 19, 2022, at 10:00 a.m., or as soon thereafter as this matter can be heard, in
   Co l a n t u o n o , H i g h s m i t h & Wh at l e y, P C




                                                               11

                                                               12   Courtroom 24, 8th Floor, located at Robert T. Matsui United States Courthouse, 501 I Street
                                                               13   Sacramento, California 95814. Defendants have advised Plaintiffs of their intent to file this motion
                                                               14   and the relief sought.
                                                               15

                                                               16    DATED: December 28, 2021                            COLANTUONO, HIGHSMITH &
                                                                                                                         WHATLEY, PC
                                                               17

                                                               18
                                                                                                                             /s/ John A. Abaci
                                                               19                                                        MICHAEL G. COLANTUONO
                                                                                                                         JOHN A. ABACI
                                                               20                                                        ANDREW C. RAWCLIFFE
                                                                                                                         Attorneys for Defendants
                                                               21                                                        CITY OF VALLEJO, ANDREW BIDOU, MARK
                                                                                                                         THOMPSON, BRYAN GLICK, ANTHONY
                                                               22                                                        ROMERO-CANO, COLIN EATON, JORDON
                                                                                                                         PATZER, STEVEN DARDEN, AND KYLE
                                                               23                                                        WYLIE
                                                               24

                                                               25

                                                               26

                                                               27

                                                               28



                                                                                                                     2                 Case No. 2:19-cv-01191-JAM-CKD
                                                                                         MOTION TO COMPEL DISCOVERY UNDER LOCAL RULE 251
272657.1
                                                                        Case 2:19-cv-01191-JAM-CKD Document 148 Filed 12/28/21 Page 3 of 3

                                                               1                                      CERTIFICATE OF SERVICE
                                                                                                  Kori McCoy, et al. v. City of Vallejo, et al.
                                                               2                                 United States District Court, Eastern District
                                                                                                     Case No. 2:19-cv-01191-JAM-CKD
                                                               3
                                                                            I, Lourdes Hernandez, declare:
                                                               4
                                                                         I am employed in the County of Los Angeles, State of California. I am over the age of 18
                                                               5 and not a party to the within action. My business address is 790 East Colorado Boulevard, Suite
                                                                 850, Pasadena, California 91101. My email address is: LHernandez@chwlaw.us. On December 28,
                                                               6 2021, I served the following document(s) on the interested parties in this action in the following
                                                                 manner:
                                                               7
                                                                            DEFENDANT CITY OF VALLEJO’S, ET AL. NOTICE OF MOTION AND MOTION
                                                               8            TO COMPEL DISCOVERY (Local Rule 251)
                                                               9           BY MAIL: The envelope was mailed with postage thereon fully prepaid. I am readily
                                                                            familiar with the firm’s practice of collection and processing correspondence for mailing.
                                                               10           Under that practice it would be deposited with the U.S. Postal Service on that same day with
                                                                            postage thereon fully prepaid at Pasadena, California, in the ordinary course of business. I
                                                                            am aware that on motion of the party served, service is presumed invalid if the postal
   Co l a n t u o n o , H i g h s m i t h & Wh at l e y, P C




                                                               11
                                                                            cancellation date or postage meter date is more than one day after service of deposit for
                                                               12           mailing in affidavit.
                                                               13          BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order or an
                                                                            agreement of the parties to accept service by e-mail or electronic transmission, by causing the
                                                               14           documents to be sent to the persons at the e-mail addresses listed on the attached service list
                                                                            on December 28, 2021, from e-mail address: LHernandez@chwlaw.us. No electronic
                                                               15           message or other indication that the transmission was unsuccessful was received within a
                                                                            reasonable time after the transmission.
                                                               16
                                                                           I declare that I am employed in the offices of a member of the State Bar of this Court at
                                                               17   whose direction the service was made. I declare under penalty of perjury under the laws of the
                                                                    United States of America that the above is true and correct.
                                                               18
                                                                            Executed on December 28, 2021, at Pasadena, California.
                                                               19

                                                               20                                                 _
                                                                                                                            Lourdes Hernandez
                                                               21

                                                               22

                                                               23

                                                               24

                                                               25

                                                               26

                                                               27

                                                               28


                                                                                                                        1             Case No. 2:19-cv-01191-JAM-CKD
                                                                                                         CERTIFICATE OF SERVICE

247388.1
